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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
In re: VIOXX MARKETING, SALES MDL No. 1657

PRACTICES AND PRODUCTS LIABILITY

LITIGATION SECTION L

JUDGE ELDON E. FALLON

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* MAGISTRATE JUDGE
* DANIEL E. KNOWLES, HI
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THIS DOCUMENT RELATES TO: Ruben Miranda Velez et al. vy. Merck & Co., Inc., Case
No. 05-4590 (Roberto Negron Perez, Margarita Nieves Garcia, Zoraida Onofre Ramos,
Teresa Oquendo Rivera, Haydee Ortiz Felix, Marta Ortiz Morales, Jeffry Ortiz Ortiz,
Rosa Otero Soto, Jose L. Oyola Claussells, and Santos Pagan Ortiz only)

STIPULATION OF PARTIAL DISMISSAL WITHOUT PREJUDICE

Plaintiffs Roberto Negron Perez, Margarita Nieves Garcia, Zoraida Onofre Ramos,
Teresa Oquendo Rivera, Haydee Ortiz Felix, Marta Ortiz Morales, Jeffry Ortiz Ortiz, Rosa Otero
Soto, Jose L. Oyola Claussells, and Santos Pagan Ortiz (“Plaintiffs”) and Defendant Merck &
Co., Inc. (“Merck”) hereby stipulate to a dismissal without prejudice of Plaintiffs’ claims in the
instant lawsuit against Merck, subject to the following conditions:

l, Plaintiffs Roberto Negron Perez, Margarita Nieves Garcia, Zoraida Onofre

Ramos, Teresa Oquendo Rivera, Haydee Ortiz Felix, Marta Ortiz Morales, Jeffry
Ortiz Ortiz, Rosa Otero Soto, Jose L. Oyola Claussells, and Santos Pagan Ortiz

agree that, in the event he or she re-files a lawsuit against Merck that contains

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claims relating to Vioxx®, such lawsuit will be filed in a United States District
Court;

2, Plamtiffs Roberto Negron Perez, Margarita Nieves Garcia, Zoraida Onofre
Ramos, Teresa Oquendo Rivera, Haydee Ortiz Felix, Marta Ortiz Morales, Jeffry
Ortiz Ortiz, Rosa Otero Soto, Jose L. Oyola Claussells, and Santos Pagan Ortiz
further agree that in the event he or she re-files such lawsuit, any discovery that
has taken place or will take place in Jn re VIOXX Marketing, Sales Practices and
Products Liab. Litig. (MDL No. 1657), the MDL proceeding that has been
established in the United States District Court for the Eastern District of
Louisiana, and that is not specific to a particular plaintiff, can be used in any such
lawsuit re-filed by Plamtiff, as though Plaintiff had been a party and had an
opportunity to participate in that discovery.

Plaintiffs Roberto Negron Perez, Margarita Nieves Garcia, Zoraida Onofre Ramos,
Teresa Oquendo Rivera, Haydee Ortiz Felix, Marta Ortiz Morales, Jeffry Ortiz Ortiz, Rosa Otero
Soto, Jose L. Oyola Claussells, and Santos Pagan Ortiz agree to the above-stated conditions and
wish to dismiss their claims in the instant lawsuit without prejudice to re-filing. There are no
counterclaims or third-party claims. Nothing in this stipulation shall constitute a waiver of any
rights and defenses Merck may have in any litigation. Pursuant to Pretrial Order No. 8A,
Plaintiffs’ counsel certifies that they will make the necessary changes to party status caused by
this pleading directly on Lexis Nexis File & Serve when this Order 1s entered.

WHEREFORE, the parties hereto stipulate to the dismissal of the claims of Plaintiffs

Roberto Negron Perez, Margarita Nieves Garcia, Zoraida Onofre Ramos, Teresa Oquendo

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Rivera, Haydee Ortiz Felix, Marta Ortiz Morales, Jeffry Ortiz Ortiz, Rosa Otero Soto, Jose L.
Oyola Claussells, and Santos Pagan Ortiz in the above-styled lawsuit without prejudice to re-
filing, subject to the conditions stated above.

Respectfully Submitted by:

Dated: a4 Mh BL Rag poz

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Stipulation of Partial Dismissal Without
Prejudice has been served on Liaison Counsel, Russ Herman and Phillip Wittmann, by U.S. Mail
and e-mail or by hand delivery and e-mail and upon all parties by electronically uploading the
same to LexisNexis File & Serve Advanced in accordance with Pre-Trial Order No. 8, and that
the foregoing was electronically filed with the Clerk of Court of the United States District Court
for the Eastern District of Louisiana by using the CM/ECF system which will send a Notice of

Electronic Filing in accordance with the procedures established in MDL No. 1657, on this 2are

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